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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ESLAM HASSAN,

                            Plaintiff,
         -against-

CORRECTION OFFICER JOHN DOE; CAPTAIN
JOHN DOE; CORRECTION OFFICER # 6314
JOHN DOE; CAPTAIN MANZO; PSYCKE                                                     ORDER
CLINICIAN JOHN DOE; PSYCKE CLINICIAN
JOHN DOE; PSYCKE CLINICIAN SOCIAL                                          19-CV-6424 (JPC)(KNF)
WORKER JANE DOE; PSYCKE CLINICIAN
SOCIAL WORKER CLINICIAN JANE DOE;
PSYCHIATRIST MOICA STAHLMANN; PSYCHE
SOCIAL WORKER FLORE MENARDY; SOCIAL
WORKER PSYCHKE CLINICIAN WARREN
BUSH; PSYCHE CLINICIAN CARLOS
HEREDIA; C.O. COPPER; C.O. #8343 JOHN
DOE; C.O. JOHN DOE; CAPTAIN JOHN DOE;
C.O. JOHN DOE, sued individually and in their
official capacities; also supervisors liability,
WARDEN TONY DURANTE; COMMISSIONERS
AND SUPERVISORS JOHN and JANE DOES,
sued municipal liability and individually and in their
official capacities,

                             Defendants.
-----------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         An initial pretrial conference was scheduled with the parties for October 20, 2020. Counsel to the

defendants participated in the conference. However, the plaintiff, who is proceeding pro se, failed to

participate. Counsel to the defendants indicated that they wished to make a motion in connection with the

plaintiff’s failure to participate in moving the action forward. The defendants’ motion shall be served and

filed on or before November 20, 2020. The response to the motion and any reply shall be made in

accordance with Local Civil Rule 6.1 of this court.
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      The Clerk of Court is directed to mail a copy of this order to the plaintiff.

Dated: New York, New York                              SO ORDERED:
       October 20, 2020




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